Case: 1:15-Cv-05781 Document #: 293-1553|€(1: 12/27/17 Page 1 of 10 Page|D #:12240

 

 

  

 

 

 

 

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ORGANlZATION AND FIRST REPORT
STOCK OR NON-STOCK CORPORATIONS
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2. DATE UF ORGAN|ZATlON MEET|NG:

Be,c/e,m&er‘“ \°\, Q_c:) \\
3. ADDRESS OF FRINCIPAL OFFlCE: (P.o,sox uNAccEPTABLE)

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A.oFFlcER's NAME: QCW;;¢§ G, \}_,ON\c-,./~.. “TLE= Dv€'-&".<;Qe,¢\,+ v C E CD
RES|DENCE ADDRESS: rF.o.Box uNAccEPrABLE; BUS|NESS ADDRESS: (P.o.BOx uNAr:cEPrABLE;

ADDRESS: Bc\ \‘\'O¢’U¢'/.`s\' L#OC)Q¢Q LC\ ADDRESS: SFS' "BE,‘QE)’FL?.. QJ""

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PAGE 1 OF 2 RBV. 1212011

 

Case: 1:15-Cv-05781 Document #: 293-155¥3|€(1: 12/27/17 Page 2 of 10 Page|D #:12241

 

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B.oFFlCER'SNAME: | 0 mm R/U`mc,\_ TlTLE: SQ.c,;-e,-\F;rg_ '

 

 

 

 

RESIDENCE AD|JRESS: {P.o.sox uNACcEPTABLE} BUS|NESS ADDRESS: {P. o,sclx uNAccEPTABLE,‘ §
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ADDRESS:€>°\ l-J;c>nr¢:sf u)ocx.o. w ADDRESS: YS" Se/\Qe:\”l.e, DJ_' 3 HJ§
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sTATE; th: TATE: -"' 1P; "' ®”‘
C»"~'" O£>°LL'\\ 3 C\ 2 Ob"tl[, §§§§
c.oFFrcER's NAME: C,\-'G\.'. 3 C \Q,c>.§h¢g_ rrrLE: T\-e,c_.;,\_.,-er" dr CPC) §§SS
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RES|DENCE ADDRESS: (P.o.Box uNAccEPrABLB BUS|NESS ADDRESS: (P.o,sox uNAccEPTAaLE) §§ §§
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ADDRESS: Q,'_\ T°\};\.\§Q,F’T;'c..'.\ ADDRESS: §§ M@W BF"" 535-§§
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Cm.: g , w .`Milac.r"' Cm: CWMWH___,__*E [o____ §§§E
sTATE: C_,~;-' zlP: C)|DO-j ~\ sum C;\- zu=': ®b\»ts$\ m§§§
6. DlRECTORS: § ml_-*
§ 32
A. DlREcroR'S NAME: » °“"
m C'~ \J` \ CL o\,CJN\C=-A §§
RESIDENCE ADDRESS: (P.o.aoxumccEPrAsLE) BUS|NESS ADDRESS: {P.o.aox uNAccEPrABLE) `__ _ _
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a. anEcToR's NAME: C. r'~c>:, 53 C \,e.¢l§\;s\a..

RES|DENCE ADDRESS: {P.o.sox uNAccEPmsLE,: BUS|NESS ADDRESS: rP‘o.Box uNAccEPrAa:_EJ

ADDRESS: l_\ `T'\M_,bq_,./TY;;,,LS ADDRESS; S,`S-, Wl@ word

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STATE: (_'>-T" zlP;OEf)-'\\~\ sTATE: C___t_ _L"TFT: Obq_ \ b

 

7. ELECTRON|C MA|L (EMA!L) ADDRESS:

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a. ExEcuTloN:
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PAGE 2 OF 2

 

Case: 1:15-Cv-05781 Document #: 293-155FSl|ed: 12/27/17 Page 3 of 10 PagelD #:12242

SECRETARY OF THE STATE OF CDNNECTICUT

 

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Hartfofd, CT 06115-0470

 

 

 

‘i. Name of Corporation: MEDGUARD ALERT, |NC.
2. Business lD: 1055817
3. Repor! due in the month of: Deoember. 2015
4. This Corporation is: DOMEST|C.-"STOCK
Fee is: $150.00
Corporate Name: MEDGUARD ALERT. INC.
Mai|ing Address: 55 SEBETHE DR. SUlTE 201
CROMWELL,CT 06416
Changes:
5. Principal Ofl`loe Addl'ess (in CT Only): 55 SEBETHE DR. SU|TE 201
CROMWELL.CT 064‘| 6
f
Changes: 55 SEBETHE DR. SUITE 201

 

CROMWELL 06416 UNITED STATES

 

6. Executive Ofiice Address (Foreign Corps On|y):

Changes:

 

 

 

7. Principa| Oftioe in Stale of Formation (Foreign Corps
On|y):

Changes:

 

 

 

8. Attached hereto are the oflicers and directors of the corporation with their business and residence addressesl

9.Date: 11/19/2015

 

10. Emai| Address: landdroman@gmai l . corn

 

11. l hereby certify and state, under penalties of false statement. that atl of the information set forth on this annual report is true. l hereby
electronically sign this report

Print Capacity: PRESIDENT

 

Signatore: DAVID ROMAN

 

Case: 1:15-Cv-05781 Document #: 293-155¥5’l|ed: 12/27/17 Page 4 of 10 PagelD #:12243

Report Officers.tDirectors
Business lD : 105581?

1. F ult Legal Name:
Tit|e(s}:
Residenoe Addr:

Business Addr:

Res Changes:

Bus Changes:

2. Full l.egal Name:
Titte(s}:
Residenoe Addr:

Etusiness Addr:

Res Changes:

Bus Changes:

3. Fuil Legal Name:
Title(s};
Residenoe Addr:

Business Addr.

Res Changes:

Etus Changes:

 

E`ILING § 0005433'?56 PG 2 OF 2
VOL B~OZ].Z]. PAGE 3004
E`ILED 11/19/2015 02:16 PM
SECRETARY Ol:" THE`. STATE OF CONNECTICUT

 

 

 

DAV|D G. ROMAN
PRES|DENT

39 HARVEST WOOD LA
H|GGANUM.CT 06441

55 SEBETHE DR.
CROMWELL,CT 06416

14 PINE ORCHARD LANE.
KILLINGWORTH,CT 06419

 

 

 

 

 

LAURA ROMAN
SECRETARY

39 HARVEST WOOD LA
H|GGANUM,CT 05441

55 SEE|ETHE DR.
CROMWELL.CT 06416

14 PINE ORCHARD LANE
KILLINGWORTH,CT 06419

 

 

 

 

 

CRA|G CLEASBY
TREASURER

27 TIMBER TRA|L
S. W|NDSOR,CT 06074

55 SEBETHE DR.
CRDMWELL,CT 06416

 

 

 

 

 

 

Case: 1:15-Cv-05781 Document #: 293-155F9i|ed: 12/27/17 Page 5 of 10 PagelD #:12244

SECRETARY OF THE STATE OF CONNECTiCUT
Document Review

30 Trinity Street
P.O. Box 150470
Ham‘ord. CT 06115-0470

1. Name of Corporation:
2. Etusiness |D:
3. Report due in the month of:
4. This Corporation is:
Fee is:
Corporate Name:

Mailing Address:

Changes:

5. Principat Oftice Address (in CT Only) :

Changes:

6. Executive Oflioe Address (Foreign Corps On|y):

Changes:

7. Prinoipal Oftioe in State of Formation (Foreign Corps

Only):

Changes:

 

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VOL B-02285 PAGE 3607
E`ILED 12/31/2016 08:16 PM
SEICRETARY OE' THE STATE OE` CONNECTICUT

 

 

 

MEDGUARD l-'tl_ERTl |NC.
1055817

Deoember, 2016
DOMEST|C!STOCK
$150.00

MEDGUARD ALERT. lNC.

55 SEBETHE DR, SUlTE 201
CROMWELL.CT 06416

1125 MIDDLE STREET
MIDDLETOWN,CT 0645’?

 

 

55 SEBETHE DR. SU|TE 201
CROMWELL 06416 UNlTED STATES

l 125 MIDDLE STREET

 

MI Dl§ItI.rETOWItLr CT 0 64 57

 

 

 

 

 

 

 

 

B. Attached hereto are the officers and directors of the corporation with their business and residence addresses

9. Date:
10. Emai| Address:

12/31/2016

 

landdroman@gmail . com

 

11. | hereby certify and state, under penalties of false statement. that all of the information set forth on this annual report is true. l hereby

electronically sign this report.
Print Capacity:

Signature:

CORPORATE. SECRETARY

 

LAURA ROMAN

 

Case: 1:15-Cv-05781 Document #: 293-155|3|€(1: 12/27/17 Page 6 of 10 PagelD #:12245

Report Ofticers.-‘Direclors
Business lD : 1055817

1. Full Legal Name:
Title(s]:
Residence Addr:

Business Addr:

Res Changes:

Bus Changes:

2. Full Legal Narne:
Tit|e(s):
Residenoe Addr:

Business Addr:

Res Changes:

Bus Changes:

3. Full Lega| Name:
Tille{s):
Residence Addr:

Business Addr:

Res Changes:

Bus Changes:

 

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VOL B“02285 PAGE 3608
FILED 12/31/2016 08:16 PM
SECRETARY OE` THE STATE} OE` CONNECTICUT

 

 

 

DAV|D G, ROMAN
PRES|DENT

14 P|NE ORCHARD LANE
K|LL|NGWORTH.CT 06419

55 SEBETHE DR.
CROMWELL,CT 06416

 

 

 

1125 MIDDLE STREET
MIDDLETOWN,CT 06457

 

 

LAURA ROMAN
SECRETARY

14 PlNE ORCHARD LANE
KlLLlNGWORTH,CT 06419

55 SEBETHE DR.
CROMWELL,CT 06416

 

 

 

112 5 MIDDLE STREET

 

MIDDLETOWN , CT 0 645’?

 

 

CRAIG CLEASBY
TREASURER

27 TIMBER TRA|L
S. W|NDSOR,CT 06074

55 SEBl:-FHE DR.
CROMWELL,CT 06416

 

 

 

1125 MIDDLE STREET

 

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Case: 1:15-Cv-05781 Document #: 293-155@|€(1: 12/27/17 Page 7 of 10 PagelD #:12246

 

 

SECRETARY OF THE STATE OF CONNECT|CUT

 

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Hartford, CT 06115-0470

 

 

 

1. Name of Corporation: MEDGUARD ALERT, INC.
2. Business iD: 105581?
3. Report due in the month of: December, 2014
4. This Corporation is: DOMEST|C)‘STOCK
Fee is: $150.00
Corporate Name: MEDGUARD ALERT. |NC.
Mai|ing Address: 55 SEBETHE DR. SU|TE 201
CROMWELL.CT 06416
Changes:
5. Principa| Oflice Address [in CT Only) : 55 SEBETHE DR. SU|TE 201
CROMWELL,CT 064-16
Changes:

 

 

 

6. Executive OI°Frce Address (Foreign Corps On|y}:

Changes:

 

 

 

'r'. Pn'ncipa| Oftice in State of Forrnation (Foreign Corps
Only}:

Changes:

 

 

 

8. Atlached hereto are the ofticers and directors of the corporation with their business and residence addresses.

9. Date: 11/25/2014

 

10_ Email Address: landdroman@gmai 1 _ com

 

11. | hereby certify and state. under penalties of false statementl that all of the information set forth on this annual report is true. l hereby
etectronical|y sign this report

Print Capacity: PRESIDEIN’I‘

 

Signature: DAVID ROMAN

 

 

Case: 1:15-Cv-05781 Document #: 293-155|-91|€(1: 12/27/17 Page 8 of 10 PagelD #:12247
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Reporl thcers!Directors
Business[n :1055817 FILING § 0005225913 PG 2 OF 2
VOL B-02006 PAGE`. 0410
E`ILED 11/25/2014 11: 48 AM
SECRETARY OE` THE STATE OE` CONNECTICUT
1. Full Lega| Name: DAV|D G. ROMAN
Tit|e(S): PRES|DENT
Residence Addr: 39 HARVEST WOOD LA
H|GGANUM.CT 05441
Business Addr: 55 SEBETHE DR.
CROMWELL,CT 06416
Res Changes:
Bus Changes:
2_ Full Legal Name: LAURA ROMAN
Titie(s): SECRETARY
Residence Addr: 39 HARVEST WOOD LA
HlGGANUM,CT 05441
Business Addr: 55 SEBE|'HE DR.
CROMWELL,CT 05415
Res Changes:
Bus Changes:
3. Full Legal Name: GRA|G CLEASBY
Tit|e(s): TREASURER
Residence Addr: 27 T|MBER TRAlL
S. WiNDSOR,CT 060?4
Business Addr: 55 SEBETHE DR.
CROMWELL,CT 06416
Res Changes:

 

 

 

Bus C-hanges:

 

 

 

Case: 1:15-Cv-05781 Document #: 293-1551£1|€(1: 12/27/17 Page 9 of 10 PagelD #:12248

 

 

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SECRETARY OF THE STATE OF CONNECT|CUT

 

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Hartford, CT 06115-0470

 

 

 

1. Name of Corporation: MEDGUARD ALERT. !NC.
2. Business lD: 1055817
3. Report due in the month of: December, 2013
4. This Corporation is: DOMEST|C!STOCK
Fee is: $150.00
Corporate Name: MEDGUARD ALERT, |NC.
N|ai|ing Address: 55 SEBETHE DR. SU|TE 201
CROtt.-‘|WELL.CT 06416
Changes:
5, Prinoipal Oftice Address (in CT On|y) : 55 SEBETHE DR. SUITE 201
CROMWELL,CT 06416
Changes:

 

 

 

6. Executive Otfrce Address (Foreign Corps Onty]:

Changes:

 

 

 

7. Principal Oftice in State of Formation (Foreign Corps
Only):

Changes:

 

 

 

B. Attached hereto are the ohicers and directors of the corporation with their business and residence addressesl

9. Date: 12f02/2013

 

10. Email Address: landdroman@gmail .com

 

11. l hereby cenity and state. under penalties of false statement that all of the information set forth on this annual report is true, t hereby
electronically sign this report

Pt'il"l! Capaciiyf CORPORATE SECRETARY

 

Signature: LAURA ROMAN

 

 

 

Case: 1:15-Cv-05781 Document #: 293-15 FHed: 12/27/17 Page 10 of 10 PagelD #:12249

 

 

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Report Oflicers!Directors
Bus§nesslu :1055817 FILING 11 0004989593 PG 2 OF 2
VOL B-018'73 PAGE 3260
FILED 12/02/2013 12 : 59 FM
SECRETARY OE‘ THE STATE OP' CONNEICTICU'I‘
1. Full Legal Name: DAV|D G. ROMAN
Title(s]: PRESIDENT
Residence Addr: 39 HARVEST WOOD LA
H|GGANUM,CT 06441
Business Addr: 55 SEBETHE DR.
CROMWELL,CT 06416
Res Changes:
Bus Changes:
2. Full Legal Name: LAURA ROMAN
Titte{s): SECRE|'ARY
Residence Addr: 39 HARVEST WOOD LA
HiGGANUM,CT 06441
Business Addr; 55 SEB|':`|'HE DR.
CROMWELL.CT 06416
Res Changes:
Bus Changes:
3, Full Legal Name: GRA|G CLEASBY
Title(s): TREASURER
Residence Addr; 2? TtMBER TRAIL
S. WlNDSOR.CT 06074
Busirless Addr: 55 SEBETHE DR.
CROMWELL,CT 06416

Res Changes:

 

 

 

Bus Changes:

 

 

 

 

 

